                                                                                   Case 8:15-cv-00688-CJC-DFM Document 16-1 Filed 06/03/15 Page 1 of 2 Page ID #:90


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                                                                                    Attorneys for Plaintiff
                                                                                  6 VERRAGIO, LTD
                                                                                  7
                                                                                  8                         UNITED STATES DISTRICT COURT
                                                                                  9                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                 10
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11 VERRAGIO, LTD                                )   Case No. 8:15-cv-0688 CJC (DFMx)
                                                                                                                                 )
                                                                                 12                     Plaintiff,               )
                                                                                                                                 )   DECLARATION OF HOWARD A.
                                                                                 13        v.                                    )
TUCKER ELLIS LLP




                                                                                                                                     KROLL IN SUPPORT OF REQUEST
                                                                                                                                 )   TO CLERK TO ENTER DEFAULT
                                                                                 14 KIEU HANH JEWELRY,                           )
                                                                                                                                 )   Hon. Cormac J. Carney
                                                                                 15                     Defendant.               )
                                                                                 16
                                                                                 17        I, Howard A. Kroll, declare:
                                                                                 18        1.     I am a partner at Tucker Ellis LLP, and represent Plaintiff         Verragio
                                                                                 19 (“Plaintiff”) in the above-captioned matter. I submit this declaration in support of
                                                                                 20 Plaintiff’s Request for Clerk to Enter Default against Kieu Hanh Jewelry on the grounds
                                                                                 21 that Defendant failed to appear or otherwise respond to the Complaint within the time
                                                                                 22 prescribed by the Federal Rules of Civil Procedure.          The statements made in this
                                                                                 23 declaration are based on my own personal knowledge or records regularly maintained in
                                                                                 24 the ordinary course of Tucker Ellis’s business, and if sworn as a witness I could testify
                                                                                 25 competently thereto.
                                                                                 26        2.     The Summons, Complaint and related documents were served on Defendant
                                                                                 27 on May 5, 2015. See Docket No. 11.
                                                                                 28        3.     Pursuant to Fed. R. Civ. P. 12(a), Defendant was required to serve its answer
                                                                                      within 21 days after being served with the Summons and Complaint. The deadline for
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                                                                                 1 Defendants to answer, therefore, was May 26, 2015. Defendant has not filed its answer
                                                                                 2 or any responsive papers.
                                                                                 3
                                                                                 4            I declare under penalty of perjury that the foregoing is true and correct, and that
                                                                                 5 this declaration is executed on June 3, 2015 in Los Angeles, California.
                                                                                 6
                                                                                 7                                                  /s/Howard A. Kroll
                                                                                 8                                                  Howard A. Kroll

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TUCKER ELLIS LLP




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